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                          UNITED STATES COURT OF APPEALS
                               FOR THE THIRD CIRCUIT
                                    ____________

                                       No. 23-1997
                                      ____________

           BLACK SHIP, LLC; 33 TAPS, LLC; HINOKI & THE BIRD, LLC,
              individually and on behalf of all others similarly situated,
                                             v.

                      HEARTLAND PAYMENT SYSTEMS, LLC,
                successor-in-interest to Heartland Payment Systems, LLC,
                        F/K/A Heartland Payment Systems, Inc.
                      HEARTLAND PAYMENT SYSTEMS, LLC,
                                        Appellant
                                ____________

                     On Appeal from the United States District Court
                              for the District of New Jersey
                                (D.C. No. 3:21-cv-13855)
                      District Judge: Honorable Zahid N. Quraishi
                                      ____________

                   Submitted Pursuant to Third Circuit L.A.R. 34.(1)(a)
                                    March 8, 2024
                                    ____________

               Before: JORDAN, PHIPPS, and FREEMAN, Circuit Judges.
                                  ___________

                                       JUDGMENT
                                       ___________

       This cause came to be considered on the record on appeal from the United States

 District Court for the District of New Jersey and was submitted on March 8, 2024. On

 consideration whereof,

       It is now hereby ORDERED and ADJUDGED by this Court that the order of the

 United States District Court for the District of New Jersey entered on May 22, 2023, is
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 hereby VACATED, and this case REMANDED to the District Court for further

 proceedings consistent with the Opinion of the Court. Each party shall bear its own costs

 for the appeal. The Court will not retain jurisdiction.


                                            ATTEST:


                                            s/ Patricia S. Dodszuweit
                                            Clerk
 Dated: September 17, 2024




                                      Certified as a true copy and issued in lieu
                                      of a formal mandate on      10/09/2024

                                     Teste:
                                     Clerk, U.S. Court of Appeals for the Third Circuit
